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Case 2: 04- Cr- 20286- BBD Document 30 Filed 08/09/05 Page 1 of 5 Page|D 38
UNITED STATES DISTRICT COURT

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U.S.A. vs. Katrina R. Newsoo Docket No. 2: 04C

a/k/a Katrina R. Newsom CLEHK': 95 imin ml
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Petition on Probation and Supervised Relcase

COMES NOW Edward E. Shaw PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Katrina R. Newson who was placed on supervision by the Honorable
Bernice B. Donald sitting in the court at Memnhis. TN on the Sth day of Jangy , 2005, who fixed the period
of supervision at two 121 years , and imposed the general terms and conditions theretofore adopted by the
Court and also imposed Special Conditions and terms as follows:

l . The defendant shall participate in the I-Iorne Detention Program with Electronic Monitoring for a period
of six (6) months.

2. The defendant shall submit a DNA sample as directed by the Probation Officer.
3. The defendant shall pay restitution of $8,550.00 in regular monthly installments in the amount of ten

percent (10%) of gross income (i.e., total income from all sources before deductions, exemptions or
other tax deductions). [Balance owed: $8,550.00.]

RESPEC'I'FULLY PRESENTING PE'I`ITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(PLEASE SEI'.`. A'I"!`ACI'IED)

PRAYING THAT THE COURT WILL ORDER a WARRANT be issued for Katrina R. Newson to appear
before Your Honor to answer charges of violation of Probation.

 

BOND:
ORDER OF COURT
I declare under penalty of perjury that the
foregoing is true and correct.
Considered and ordered this §_]day of
U\- 2005 and ordered Executed
filed an a part of the records in the on: / M/ j %/Z§O§;

 

the above case.

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c =bl" » ‘ :'CCB. DODald
_ ed States Dismc'madg@ument entered on the docket sh ll face §§ é/ W/

   

 

 

 

with Ftule 55 and!or 32(b) FRCrP on

_.KatriiiaR.Newson
a/k/a/: KMR.Mi-BOZSG-BBD Document 30 Filed 08/09/05 PageZofB Page|D 39

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT VIOLATED TI-[E FOLLOW]NG CONDITIONS OF PROBATION:
The defendant shall not commit another Federal, state, or local crime.

On May 20, 2005, the defendant, Katrina Newson, was arrested by the Memphis Police and charged with ldentity
Thefi in violation of TCA §39-13-150. The Afiidavit of Complaint indicates that Katrina Newson illegally obtained
utility service at her residence, 8066 Irene, No. 102, Memphis, TN by using stolen identity information which
belonged to a Kathryn Cushrnan. This case is pending in Shelby County General Sessions Court.

Beginning on or after January 5, 2005, and continuing to on or about May 20, 2005, Katrina Newsom did violate
various and numerous Federal and state laws. According to the investigative reports of the Memphis Police, which
conducted a search of Ms. Newson’s apartment, purse and computer, Katrina Newson did:

-apply via the Internet and/or the U.S. Postal Service, for credit in the name of Beverly Gardner, using Ms.
Gardner’s stolen personal identity information, with American Express, Capital One, Chase, and Cingular
Wireless; and, the defendant did then cause one or more Cingular Wireless telephones to be shipped by
FedEx in the name of Beverly Gardner to Katrina Newsom’s, home address of 8066 lrene Blvd., Apt. No.
2, Memphis, TN 38125, causing a dollar loss to Cingular that is unknown at this time.

-apply via the Internet and/or the U.S. Postal Service for credit in the name of lda Wilkins, using a Social
Security Number belonging to Takahashi Hiroshi, to obtain credit cards from Macy’s, American Express,
First Federal Savings Visa, and Chase Visa; and, the defenth did use or cause to be used the fraudulently
obtained lines of credit to purchase items and cause a $2,108.96 loss to Macy’s, a $1,452.90 loss to
American Express, and a $485.47 loss to Chase Visa.

-use or cause to be used stolen checks belonging to Michael D. House to pay or attempt to pay the monthly
rent for the apartment in which the defendant did live, pay for the utility service for that same apartment
(which had been obtained in another person’ s name), and make payments of the Macy’ s account which had
been obtained in the name of lda Wilkins.

The defendant shall participate in the Home Detention program with Electronic Monitoring for a period of
six (6) months.

Katn`na Newson did violate requirements of the Home Detention program by violating the set curfew on five (5)
occasions: on the 1“, 17“', 18"’, 19"‘, and 20‘h days of June 2005.

The defendant shall pay $8,550.00 in restitution in monthly installments of not less than ten percent (10%)

of the defendant’s monthly gross income.

Kau'ina Newson has not paid as ordered.

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VIOLATION WORKSHEET
Defendant Katrina Newson. §a/k/a: Katrina Newsoml Address; 6870Club Ridge Circlell Memphis, TN 381251

¢_¢

2. Docket Number (Year-Sequence-Defendant No.) 2:04CR2B_86-01
Disu'ict/Office Western District of Tennessee gMemp_hisl

4. 01 05 2004
month day year

P*

 

 

(Ifd§g”erent than above):
5. Original District/Office

 

 

6. Original Docket Number (Year-Sequence-Defendant No.)

7. List each violation and determine the applicable grade {Yg §’IBl.l }:

Violation{ s } Grg_de
New Criminal Conduct: Identity Theli;, et.a]. B

 

Violan'on of Home Detention

 

 

 

Violation of Restinnion order
8. Most Serious Grade of Viola!ion (_;so£ §7Bl .l(b) B
9. Criminal History Category (B §7Bl.4(a))74 I

10. Range of imprisonment (s_e§ §7Bl.4(a)) _
* The statutory maximum term of imprisonment is five (5) years. Also see reasons for departure on next page.

 

l l, Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{X } (a)If the minimum term of imprisonment determined under §731.4(Term of Imprisonment) is at least one month but not
more than six months, §7B l .3(c) (1) provides sentencing options to imprisonment

{ } (b)If the minimum term of imprisonment determined under §7Bl.4(Term of Imprisonment) is more than six months
but not more than ten months, §7Bl.3(c) (2) provides sentencing options to imprisonment

{ } (c)!f the minimum term of imprisonment determined under §7B l .4(Tenn of lmprisonment) is more than ten months,
no sentencing options to imprisonment are available

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Defendant Katrina Newson

 

12. Unsatislied Conditions of Original Sentence

List any restitution, tine, commlmity confinement home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved atthe time of revocation {B §7Bl.3(d)}:

 

 

Restitution ($) $8.550.00 Community Conf'mement N/A
Fine ($) N/A Home Detention Four 141 months
Other N/A lntermittent Confinement N/A

 

13. Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of
§§5D1.1-l.3{@ §§TBI.S(g)(l)}.

Term: N/A to NIA years

If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent pertained by law, be ordered to recommence supervised release upon release
from imprisonment {B 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release li'om imprisonment NMT 3 veg_rs

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

Pursuant to §7B1,3(d) any home detention previously imposed that remains unserved at the time of revocation may be

served in addition to the sanction determined under §7B1.4. Thus, the adjusted range derived by taking into account
the estimated unserved Home Conttnement would be approximately 8-14 months

 

 

 

 

 

 

 

15. Ofl'icial Deteotion Adjnstment {B §7Bl.3(e)}: months days

Mail documents to: United Statos Sentencing Comlission, 1331 Pennsylvania Avenne, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20286 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

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Honorable Berniee Donald
US DISTRICT COURT

